          Case 8:19-bk-00155-RCT      Doc 26    Filed 04/17/19   Page 1 of 3



                                 ORDERED.

    Dated: April 16, 2019




                     UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
                             www.flsb.uscourts.gov

IN RE:

JAMES EDWARD NIMMO                             CASE NO.: 8:19-bk-00155-RCT
AKA JAMES E NIMMO                              CHAPTER: 7

MARYANNA ANNA NIMMO
aka MARY F NIMMO

      DEBTOR(S).
__________________________/

 AGREED ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY

      This cause came on for consideration of the Motion for Relief from Automatic Stay

[DE#17] filed by Lakeview Loan Servicing LLC on March 13, 2019 and the Chapter 7
            Case 8:19-bk-00155-RCT          Doc 26    Filed 04/17/19     Page 2 of 3


Trustee’s Limited Response to the Motion for Relief from Automatic Stay [DE#18].            Upon

agreement of the parties involved, it is:

       ORDERED:
       1.      Movant’s Motion is GRANTED – effective, at the end of the day, ninety (90)
days from the date of entry of this order. However, if the Trustee obtains a contract for the sale
of the Real Property prior to the end of the day ninety (90) days from the date of entry of this
order, then stay relief shall become effective only upon the withdrawal or the denial of any
motion to approve sale by this Court. The parties also agree that the Trustee may continue to
market the Property, pursue a sale, obtain a contract, and/or obtain approval of any proposed sale
up through the date of any judicial foreclosure sale date. Additionally, Movant will not accept
any voluntary conveyance of the Property from the Debtor, to and including, a deed in lieu of
foreclosure while the Property remains property of the bankruptcy estate unless otherwise
approved by the Trustee
       2.      Based on the conditions laid out in Paragraph #1; The automatic stay imposed by
11 U.S.C. § 362 will terminate as to Movant’s interest in the following property:




        Property Address: 15841 Cobble Mill Dr., Wimauma, Florida 33598

       3.      This order lifting the automatic stay is entered for the sole purpose of allowing
Movant to obtain an in rem judgment and complete a foreclosure as to the above described
property and Movant (contingent upon the Debtor receiving a discharge in this case) shall neither
seek nor obtain an in personam judgment against the Debtor(s).
       4.      All communications sent by Secured Creditor in connection with proceeding
against the property including, but not limited to, notices required by state law and
communications to offer and provide information with regard to a potential Forbearance
Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement or other Loan
Workout, may be sent directly to the Debtor(s).
       5.      This Order is entered for the sole purpose of allowing Movant, its successors
and/or assigns, to commence and/or continue through judgment, sale, certificate of title and
possession, a foreclosure against the property described above.     Movant may also commence


                                                  2
            Case 8:19-bk-00155-RCT          Doc 26     Filed 04/17/19    Page 3 of 3


and/or continue to pursue loss mitigation options, including, but not limited to, forbearance, loan
modification, refinance, and deed in lieu of foreclosure.
       6.      The stay imposed by Fed. R. Bankr. P. 4001(a)(3) is waived.
                                               ###

Attorney, Jeffrey S. Fraser, Esq. shall serve a copy of the signed order on all required parties
and file a certificate of service as required under Local Rule 2002-1(F).

Submitted By:
Jeffrey S. Fraser, Esq.
Albertelli Law
Attorney for Secured Creditor
PO Box 23028
Tampa, FL 33623
Telephone: (813) 221-4743 ext. 2499
Facsimile: (813) 221-9171
Bkfl@albertellilaw.com




                                                 3
